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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLORADO

Civil Action No. 1:20-cv-03271-MEH

TORRENCE BROWN-SMITH,

      Plaintiff,

v.

ANDREW FEINSTEIN, in his official capacity as President of the University
of Northern Colorado,

      Defendant.


     UNOPPOSED MOTION FOR TWO-WEEK EXTENSION OF TIME
        TO RESPOND TO SECOND AMENDED COMPLAINT


      Defendant Andrew Feinstein, in his official capacity as President of the

University of Colorado, by and through the Colorado Attorney General, respectfully

requests a two-week extension of time to respond to Plaintiff’s Second Amended

Complaint. ECF 41. In accordance with D.C.COLO.CivR 7.1(a), undersigned

conferred with counsel for Plaintiff regarding this motion, who does not oppose the

relief requested.

      1.     On July 6, 2021, the Court dismissed Plaintiff’s First Amended

Complaint and granted Plaintiff leave to amend. ECF 39. On January 4, 2022,

Plaintiff filed a Second Amended Complaint. ECF 41. Defendant’s response to

the Second Amended Complaint is due January 18, 2022.

      2.     The parties are actively pursuing a potential resolution of this

matter. Granting the requested two-week extension of time will facilitate the
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parties’ discussions and conserve the Court’s resources if a resolution is

achieved.

      3.     Defendant previously requested one extension of time to respond

to Plaintiff’s First Amended Complaint, which was granted. ECF 30 and 31.

      4.     Pursuant to D.C.Colo.L.Civ.R. 6.1(c), undersigned counsel

certifies that he has served his client with a copy of this Motion.

      WHEREFORE, Defendant requests a two-week extension of time to

respond to Plaintiff’s Second Amended Complaint, to and including February

1, 2022.

      DATED this 18th day of January, 2022.

                                        PHILIP J. WEISER
                                        Attorney General

                                        /s/ Skip Spear
                                        Skippere Spear*
                                        Patrick Warwick-Diaz*
                                        Eric T. Butler*
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                                        Attorneys for Defendant




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                          CERTIFICATE OF SERVICE

      I certify that I served the foregoing Unopposed Motion for Two-Week

Extension of Time to Respond to Second Amended Complain upon all parties

herein by email at Denver, Colorado, this 18th day of January, 2022

addressed as follows:


Timothy Galluzzi
Kevin Cheney
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Attorneys for Plaintiff


                                            /s/ Carmen Van Pelt




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